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7                    IN THE UNITED STATES DISTRICT COURT FOR THE

8                             EASTERN DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,             )       CR F 04-5097 AWI
                                           )
11                   Plaintiff,            )
                                           )       ORDER FOR DISMISSAL OF
12        v.                               )       INDICTMENT AGAINST JESSICA
                                           )       MARIA GARZA AND RECALL OF
13   JESSICA MARIA GARZA,                  )       WARRANT
                                           )
14                                         )
                     Defendant.            )
15                                         )

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          Pursuant to the motion by the United States, IT IS HEREBY
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     ORDERED that the Indictment filed herein be dismissed against
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     defendant JESSICA MARIA GARZA, only, without prejudice and in the
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     interest of justice, and any warrant shall be recalled.
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     IT IS SO ORDERED.
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     Dated:    September 19, 2007              /s/ Anthony W. Ishii
23   0m8i78                              UNITED STATES DISTRICT JUDGE
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